     Case 22-18303-JKS Doc 159-5 Filed 10/05/23 Entered 10/05/23 12:56:09                  Desc
                           Proposed Order Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

 POLITAN LAW, LLC
 88 East Main Street, #502
 Mendham, New Jersey 07945
 Mark J. Politan, Esq.

 Subchapter V Trustee


In Re:                                                   Case No.:       ____________________
                                                                               22-18303
 ALEXANDRE J. DACOSTA and                                                    11/2/2023
                                                         Hearing Date: ____________________
 VIVIANNE C. ANTUNES
                                                         Judge:          _____________________
                                                                                Sherwood
                                            Debtors.
                                                         Chapter:        _____________________
                                                                               11 (Sub V)




                                    ORDER GRANTING ALLOWANCES


         The relief set forth on the following page is hereby ORDERED.
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       The Court having found that the person(s) named below filed application(s) for
allowances; and notice and opportunity for hearing were given to creditors and other parties in
interest as required; and for good cause shown; it is


       ORDERED that compensation and expenses are allowed as follows:


       APPLICANTS                     COMMISSION/FEES                      EXPENSES

    Mark J. Politan, Esq.                   $3,880.00                      $50.00




                                                                                         rev.8/1/15




                                                 2
